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3.3 IHNC Hydrograph Data


       Gage records along the IHNC have been plotted from 12:00 am on August 28,
2005, to 6:00 pm on August 29, 2005 (see Figure 3.4). As can be seen in Figure 3.4,
from August 28, 2005, 12:00 am to 10:00 pm, the canal level increased from about 1.5
to 5.0 ft elevation NAVD88 for both the Orleans Levee District gage (OLD) and the
USGS gage. Although these two gages follow the same gradual trend, the OLD gage
indicated levels about 0.3 ft higher, yet these two gages are only about 2 ft apart.


       From 10 pm to 3 am the OLD and USGS gages were at about the same
elevation (see Figure 3.4). However, at about 4:30 am, the OLD gage fell off the trend,
followed by the USGS gage, despite surge increases along Lake Pontchantrain and the
MRGO/GIWW Outlet (see Figure 3.2). Both gages appeared to recover, and by 6:00
am, the OLD gage reached the Lock Staff (LS) gage reading of about Elevation 11.0 ft
NAVD88. The OLD gage then deviated again from the LS gage. The USGS gage also
appears to deviate from its trend in the 7 to 8 am range.


       IPET states the following regarding the drop in the USGS transducer gage: “One
possible explanation of the 5 ft drop is that the high velocities through the railroad/I-10
bridge opening, along with debris, snagged the cable and pulled the transducer up out
of the pipe giving it an apparent drop in water level.” This explanation does not seem
feasible since there was a gradual recovery from Elevation 5 to 11 ft to 1 ft below the LS
gage and was reasonably close to the OLD gage (0.5 ft difference) at about 6:00 am.
The OLD float gage may have had difficulty dropping once reaching higher elevations in
the PVC staff and responding to more rapid water level changes. Regarding the OLD,
IPET states: “Whether the OLD gage got stuck or the level readings indicate the time of
a breach is unknown.”


       The MRGO/GIWW (USGS) gage at Paris Road (M/G), which is just west of the
outlet is about twice the channel distance to the breach sites than the I-10 gauges and
3-4 times that from the lock readings. The M/G gage has been plotted with other data



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in Figure 3.5. Days before the Hurricane, the M/G gage followed the USGS gage at I-10
except that the tide peaks were about 0.35 ft higher.


       As expected from the path of Hurricane Katrina, the M/G increased at a greater
rate than the identical IHNC gage trend, reaching levels of 5.5 ft Elevation by 8 pm on
August 28, 2005. From about 10 pm on August 28, 2005, the M/G gage and LS gage
trends were essentially identical, with the USGS at I-10 gage lagging to about 1 ft at 4
am on August 29, 2005. After 4 am, there is no other data provided for the M/G gage.


       Both Figures 3.4 and 3.5 indicate that the maximum surge level at the IHNC lock
was 14.2 ft at 9:00 am on August 29, 2005. It should be noted that high mark levels
(HML) in the vicinity of the lock were reported by IPET as 13.2 ft, 13.7 ft, and 13.8 ft
NAVD88. IPET considered the HML of 13.2 ft not sufficiently valid. The peak on the
hydrograph of 14.2 ft was apparently the lock operator’s “best estimate of the peak high
water” (p. IV-I-74).


       By 6 pm on August 29, 2005, the IHNC canal water level had decreased to about
the levee crown elevation adjacent to the breach sites.


3.4 Wave Conditions


        Waves were much larger and more energetic than anticipated during design.
Simulations across Lake Pontchantrain found that during Hurricane Katrina wave
heights reached 8 to 9 ft, with a period of 7 seconds before entering the IHNC (IPET
Vol. IV).


       Reports of wave heights ranged from over 1 ft to spurious waves up to about 20
ft along the IHNC (see Table 3.1). Waves of 1.3 ft were reported from a file photo at
7:06 am in daylight within the IHNC lock (p. IV-I-69-70). Another report stated that
“within an hour of the hurricane’s landfall, wind-generated waves reached heights of at
least 4 ft in the Industrial Canal” (ASCE, 2007). Also, wave heights up to 8 ft were

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reported in other areas (see Table 3.1).


3.5 Timing and Associated Conditions


       For the purposes of this failure investigation of the North and South Breaches it is
important to make the best possible assessment of the time of failure of the breaches.
This establishes the site conditions at the time of failure.


       The available information related to the failure consists of eye-witness accounts,
911 calls, and battery-operated clocks. The battery-operated clocks became submerged
during the flooding, and power control center log. This information has been
summarized in Table 3.1 and Figure 3.1. It should be noted that the reported clock data
(if properly set) would provide later times than when the breach actually occurred, as
they would be elevated off the ground and would be further delayed by the seepage rate
into the house and resistance to soaking.


       Based on the available information, which is summarized in Table 3.1, the
estimated time of the North Breach is 6:00 am. Pump Station No. 5 manager stated that
after watching the failure of the wall, he immediately called to have power shut off for
fear of electrocution. Central Control Center logged this call at 6:10 am. Eyewitnesses
closest to this breach generally recalled the time of flooding in the range of 4:00 to 6:00
am and that it was dark to not quite daylight. Clocks in the vicinity stopped between 5:15
am to 7:30 am.


       For the South Breach, the start of flooding is estimated at 6:30 am. The earliest
911 call indicating a house was flooded was at 6:53 am. The location of this call was
about 3400 ft south of the South Breach area. The closest eyewitnesses generally
recalled the violent flooding beginning between 5:45 am to 6:30 am, in the dark to
turning daylight.


       Using the above times, the surge elevation based on the IHNC hydrograph (see
Figure 3.4) would be 11.2 ft and 11.8 ft NAVD88 for the North and South Breaches,

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respectively. Wave heights during this time were at least 4 ft and up to about 20 ft.
Similarly, wind direction, given the above timing of the North and South Breaches, was
southward and parallel to the canal at wind speeds on the order of 58 mph with gusts up
to 82 mph and 86 mph, respectively (see Section 3.2).




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4.0 FLOODWALL FAILURE CONDITIONS
4.1 North Breach Chronological and Damage Photographs


       Photographs at the 250 ft long North Breach were taken from various sources
which are provided in the photo descriptions. Overview photographs are given in
chronological order (see Photos 4.1 to 4.6) followed by those which include damaged
wall conditions from north to south (see Photos 4.7 to 4.13).


Photographic Chronology

       Earliest available videos or still photographs of the North Breach depict
floodwaters flowing back into the canal (see Photos 4.1 and 4.2). Floodwaters flowing
into Lower 9th Ward (L9W), however, resulted in significant back erosion which included
the washing away of a pre-existing ramp into the waterfront area, as can be seen in
Photo 4.3. Also note, in Photo 4.3, the east-west ridge of deposited material from the
eastward to northward inflows.


       Photo 4.4 depicts an aerial of both the North and South Breaches in October
2005. Using this photograph, the North Breach scales to be about 240 ft and, therefore,
would be located from Station 53+60 to 56+00. Also, the north end of the displaced
floodwall scales to be displaced 80 ft to the west with the end of the breach bent inward
about 10°.


Damage Condition Photographs

       Based on photographic evidence, the North Breach failure initiated at the north
end of the breach, or just south of the still intact virtually undamaged wall (see Photos
4.7 and 4.8). These photographs show a very abrupt failure at the construction joint at
the north end of the North Breach. This wall break is the result of failure in shear from a
clockwise twist. Also, the sheetpile has been torn off the northern floodwall section and
has been displaced eastward. This tear decreases with depth and the sheetpile is most
likely intact at some point. There is also photographic evidence that this sheetpile


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Photo 4.1 Still of earliest available video of the North Breach after Hurricane Katrina.
Floodwaters flowing back into the canal. Video dated August 30, 2005 at 12:55 pm.
Floodwater level low enough to see ground surface on waterfront side. South view.
(Photo copied from hard drive borrowed from Brian A. Gilbert, Esq., Law Office of Brian
A. Gilbert, P.L.C., location of video: IHNC files\CDs\dvd's 6-3-08\Mark
Price\Files\Photos-videos 1\P3\Captured CCD\Katrina10.mp2 Video dated August 30,
2005)




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Photo 4.2 North Breach at the Lower Ninth Ward. Water is shown flowing back into the
IHNC. Note entire area in the vicinity of the breach has been eroded away. Photo dated
August 31, 2005 (Preliminary ILIT report dated November 2, 2005, Figure 4.7)




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Photo 4.3 No flow condition at the North Breach. Back erosion in front of the failure and
along the south end of the breach is present. Also, the photograph depicts a east-west
ridge of sediments deposited from eastward to southward floodwater flows into the
Lower 9th Ward. East view. (IPET report, Appendix Volume 14)




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Photo 4.5 Temporary levee installed on canal side across the North Breach. At the
north end of the breach, east-west ridge of washed sediment on northside is present.
Note exposure of the sheetpile just north of the failure on land side from in-rush of
floodwater when the wall was displaced eastward at the end of the breach; and water-
filled scour trench just south of failure. Closer to the breach, the trench appears fairly
uniform width but wider than it is to the south. Just north of the breach at the floodwall
corner (where the wall elevation is 1 ft higher than at the failure reach) no scour can be
seen. Southwest View. (IPET website, Post-Katrina, Presentations, “The Anatomy of a
Disaster” dated June 7, 2006)




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Photo 4.6 Installing temporary levee in front of North Breach. Note broken and missing
concrete at monolith joints. Concrete completely missing where it has “fanned”
downward. Note, floodwall at north end of the breach has translated about 80 ft to the
east and rotated about 270E.West View. (IPET Appendix Volume 6 and L. Harder,
October 14, 2005).




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Photo 4.7 Abrupt tear at north end of North Breach. Continuous (unjointed) concrete
panel to north corner with breach occurring at construction joint. Note sheetpile at south
end of this panel was pulled laterally eastward out of bottom of the concrete panel and
tore just south of the interlock with adjacent sheet. Note the smooth “curved” surface
from concrete against sheetpile at south end of the existing monolith. The eastward
displaced sheetpile appears to have been also torn off the sheetpile in the older
southern monolith. The southern monolith had a lower top elevation of 1 ft. Northwest
view. (LNA 001159)




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Photo 4.8 North end of North Breach. Appears steel rebar was used in monolith to the
north. Note the sheetpile is torn-off and rebar is bent landward. Opposite view of Mr.
Villavasso, when he observed the failure. Northeast view (Photo produced by LaFarge,
North America, LNA001155).




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Photo 4.9 North Breach showing north end of the floodwall laying flat on ground having
rotated 270E. Except for where wall has been twisted upside down the greatest
fragmentation and twisting strain appears be at the construction joints. Southeast view.
(Photo produced by LaFarge, North America, LNA001148).




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Photo 4.10 Most of the North Breach to the south end. The failed floodwall displaced
eastward and twisted 270E with sheetpile completely out of the ground close to the
south end. The twisting of the sheetpile indicated (without tearing) appears up to 28E in
4.5 ft. Note in this section there has been rotation along the interlock joint. South view.
(Photo produced by LaFarge, North America, LNA001158)




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Photo 4.11 South end of North Breach. Washout from flow of floodwaters into Lower 9th
Ward can be seen along wall at south end exposing sheetpile. South view. Photo taken
on October 4, 2005. (Preliminary ILIT Report dated November 2, 2005 Figure 4.11)




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Photo 4.12 depicts the more gradual twisting of the wall at the south end of the North
Breach. Torsion or twisting strains greatest at the joints. Note from the flow of
floodwaters into the Lower 9th Ward the levee soil was washed along the wall and
exposed the sheetpile. At the joint in the middle of the photo the sheetpile appears to
have been peeled off the back of the wall south of the joint. South view. (Photo
produced by LaFarge, North America, LNA001142)




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Photo 4.13 South end of the North Breach with floodwall twisted down slope. Note
discrete deformations at joint locations. North View. (IPET website, “Post-Katrina”,
“Lake Pontchartrain LA”, 9th Ward Photos, dated October 26, 2005)




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“peeled-off” the still standing concrete floodwall (see Photo 4.7). Similarly, the southern
portion of the eastward displaced sheetpile delaminated from the adjoining southern
concrete panel.


       Photographs 4.9 to 4.11 depict the wall that came completely out of the ground,
twisted longitudinally 270E, and displaced eastward at the north end about 80 ft. These
photos also are evidence that the sheetpile has significant twisting flexibility. Twisting-
induced extension of the sheetpile can be seen in the upper “fan” of the displaced wall
where the “corrugations” have been stretched and where the interlock seams have been
rotated (see Photo 4.10).


       In addition to other concrete wall damage, discrete deformations with missing
concrete are present at the panel construction joints, primarily from twisting (see Photos
4.9 to 4.13). At the south end of the breach, joint twisting resulted in the sheetpile
“peeling off” the more vertical monolith to the south (see Photo 4.12). Also, similar to the
north and south ends of the South Breach, the south end of this breach rotated about
90E within 2 concrete panels with the piling exhumed from the ground (see Photo 4.11).
The amount of concrete distress, however, is significantly greater in the north end of the
South Breach compared to the south end of the North Breach (see Photos 4.12 and
4.27 to 4.30).


       Despite failure of the wall prior to overtopping, a scour trench was present to the
south of the breach. Closer to the south end of the North Breach, a fairly uniform scour
trench (which became narrower further to the south and then widens again) is present
(see Photo 4.5). Other than scour from the initial inflows from the first panel failing at the
north end of the breach, no land side scour is present along the monolith to the wall
corner. It should be noted this wall (and that to the north) was constructed 1 ft higher
than the reach to the south (see Photo 4.7).




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